                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION
 STEPHEN CAULFIELD,                                   )
                                                      )
                                 Plaintiff,           )
                                                      )
                       v.                             )      Case No. 6:20-cv-03278-RK
                                                      )
 TEXAS ROADHOUSE HOLDINGS, LLC,                       )
                                                      )
                                 Defendant.           )
      ORDER TO COMPEL PRODUCTION OF DOCUMENTS FROM NONPARTY
        Before the Court is Defendant’s motion to compel production of medical records from
Veterans Affairs, a nonparty in this action. (Doc. 28.)
        This is a personal injury and premises liability action originally filed in Missouri state court
and removed by Defendant to this Court under diversity jurisdiction. Plaintiff alleges while he
was a customer at one of Defendant’s restaurants, he slipped on peanut shells that were on the
ground and fell, suffering numerous injuries including to his head, brain, face, nose, left eye, neck,
and shoulders. (Doc. 1-2 at 1-3.) In August and September 2021, Defendant caused three
subpoenas to be issued by this Court and served on several Veterans Affairs medical facilities,
including: the Veterans Health Care System of the Ozarks in Fayetteville, Arkansas; Gene Taylor
Veterans’ Outpatient Clinic in Republic, Missouri; and Branson VA Clinic in Branson, Missouri.
(See Doc. 28-1.) The subpoenas directed the facilities to produce “[a]ny and all medical records
and medical films of Stephen Caulfield . . . related to his head, brain, face, nose left eye, neck,
shoulders, diabetes, hyperglycemia, and hypoglycemia.” (Id.) The subpoenas directed production
of these medical records at the St. Louis, Missouri, office of the law firm representing Defendant
in this case.
        In its motion to compel, Defendant states it received a fax on September 5, 2021, from the
VA Health Care System of the Ozarks refusing to produce the requested documents. (Doc. 28 at
2.) (Defendant attached the fax to its motion. (See Doc. 28-2.)) Defendant states it appealed the
decision to the VA General Counsel on August 25, 2021 (see Doc. 28-3) and that this appeal was
denied. (Doc. 28 at 2; see Doc. 28-4.) Defendant, accordingly, seeks an order from this Court
directing the “VA [to] produce Plaintiff’s records and films as set forth in the subpoenas served in




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this case,” to satisfy 5 U.S.C. § 522a(b)(11), allowing the VA (as a federal agency) to disclose
Plaintiff’s medical records in accordance with federal privacy law. (Doc. 28 at 3.)
       It is not clear from the face of Defendant’s motion the authority on which Defendant seeks
such an order from this Court. As a motion to compel, however, the Court first turns to Federal
Rule of Civil Procedure 37. Under Rule 37(a)(1), “[o]n notice to other parties and all affected
persons, a party may move for an order compelling . . . discovery.” Rule 37(a)(2) requires such
motion to compel as to a nonparty “be made in the court where the discovery is or will be taken.”
In this instance, the discovery sought (Plaintiff’s VA medical records) is to be produced outside
this district in St. Louis, Missouri. Furthermore, while the Gene Taylor Veterans’ Outpatient clinic
and Branson VA Clinic appear to be within this district (facilities to which two of the three
subpoenas for medical records were directed), Defendant states in its motion the facilities refused
to accept service of process of the subpoenas. Instead, it appears the subpoenas directed to these
two facilities were served on the Veterans Health Care System of the Ozarks in Fayetteville,
Arkansas, which is outside this district.
       As a second basis for Defendant’s requested order, the Court considers Federal Rule of
Civil Procedure 45. Under Rule 45(g), a court may hold in contempt “a person who, having been
served, fails without adequate excuse to obey the subpoena or an order related to it.” Under this
rule, though, the court empowered to hold such a person in contempt is “[t]he court for the district
where compliance is required” (or, “after a motion is transferred, the issuing court”). Id. As noted
above, the subpoenas issued in this case require compliance outside this district. Additionally, no
such motion has been transferred from the appropriate court to this Court (as the issuing court of
these subpoenas).
       For these reasons, Defendant’s motion to compel (Doc. 28) is DENIED without
prejudice.
       IT IS SO ORDERED.



                                              s/ Roseann A. Ketchmark
                                              ROSEANN A. KETCHMARK, JUDGE
                                              UNITED STATES DISTRICT COURT

DATED: November 12, 2021



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